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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NORTHWEST ENVIRONMENTAL
ADVOCATES,

      Plaintiff,

 v.

UNITED STATES DEPARTMENT OF                       Civil Action No.: 1:17-cv-2019-RCL
INTERIOR,

      Defendant.


                        NOTICE OF WITHDRAWAL OF COUNSEL

          Pursuant to Local Rule 83.6(b), undersigned counsel Nina Robertson hereby notifies the

court of the withdrawal of her appearance in this case. David A. Bahr has entered an

appearance in this case, and the signature of the represented party, Northwest Environmental

Advocates, is included below.




          Nina Bell
          Northwest Environmental Advocates


         Respectfully submitted this 5th day of March, 2018.

                                             /s/ Nina Robertson
                                             Nina Robertson (D00370)
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                                             Lewis & Clark Law School
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                           Plaintiff’s Counsel




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                                    CERTIFICATE OF SERVICE


       I hereby certify that on March 5, 2018, I served the foregoing with the corresponding
Notice of Electronic Filing via CM/ECF system, which sent notification of such filing to all
attorneys of record.


                                                    /s/ Nina C. Robertson
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